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IN THE UNITED STATES DISTRICT COURT f

FOR THE wEsTERN DIsTRIcT oF TENNESS l _
wEsTERN DIVISION E§SN~G 29 AHH lig

 

 

DERRICK BROOKS,
Plaintiff,

vs. No. 04-3043-BV

UNIFIRST CORPORATION, INC.,

Defendant.

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SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held
August 25, 2005. Present were Florence Johnson, counsel for
plaintiff, and Bradford J. Smith, counsel for defendant. At the
conference, the following dates were established as the final dates
for:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): August 30,
2005

JOINING PARTIES: August 30, 2005
AMENDING PLEADINGS: September 15, 2005
COMPLETING ALL DISCOVERY: March 1, 2006

(a) DOCUMENT PRODUCTION: March 1, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: March l, 2006

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT

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with Ru\e 58 and/or 79(3) FRCP on

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INFORMATION: January 2, 2006

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: February 1, 2006

(3) EXPERT WITNESS DEPOSITIONS: March 1, 2006
FILING DISPOSITIVE MOTIONS: April 21, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection to the default, response,
answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to
last 3-4 days. The pretrial order date, pretrial conference date,
and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation
within the next 90 days.

The parties are reminded that pursuant to Local Rule
ll(a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a inotion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

The parties have not consented to trial before the magistrate
judge.

This order has been entered after consultation with trial

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counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or

extended.

IT IS SO ORDERED.

mem et QM,,W

DIANE K. VESCOVO
UNITED ST TES MAGISTRATE JUDGE

DATE; ZM/b( -Qa, 2005

 

UNIEDT ' ATES DISTRICT COURT- WESTERN DISTRiCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:04-CV-03043 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Robert 13. Hale

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Bradford .1. Smith
GOODWIN PROCTOR LLP

EXchange Place
BOSton7 MA 02109--288

Florence M. Johnson

LAW OFFICE OF FLORENCE JOHNSON
100 N. Main Building

Ste. 3001

1\/1emphis7 TN 38103

Honorable .1. Breen
US DISTRICT COURT

